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 2
     Sacramento, CA 95814
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     Mike.Long.Law@msn.com
 4
     Attorney for LEONA YEARGIN
 5

 6                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     THE UNITED STATES OF AMERICA,    ) No. CR-S-13-103 MCE
 8
                     Plaintiff,       )
 9
                                      ) STIPULATION AND
          v.                          ) ORDER TO CONTINUE PLEA HEARING
10                                    )
     LEONA YEARGIN,                   ) Date: 10-3-13
11                   Defendants.      ) Time: 9:00 a.m.
12
     ================================) Judge: Hon. Morrison C. England

13          It is hereby stipulated between the parties, Todd Pickles, Assistant United States Attorney,
14   Michael D. Long, attorney for defendant Leona Yeargin that the status conference date of
15
     September 26, 2013, should be continued until October 3, 2013. The continuance is necessary
16
     because Leona Yeargin was unable to afford to pay for transportation to court on September 26,
17

18
     2013. In a separate order, the court will order the United States Marshal Service to pay for Ms.

19   Yeargin to be transported via Amtrak from Richmond to Sacramento for court. Defendant and

20   AUSA Pickles jointly agree that time should continue to be excluded until October 3, 2013 for
21
     continued defense preparations and to arrange for the defendant to come to court. Each party
22
     further stipulates that the ends of justice served by granting such continuance outweigh the best
23
     interests of the public and of all the defendants in a speedy trial. Each party would like time to be
24

25   excluded as provided by Local Code T4 from today’s date through October 3, 2013.

26          IT IS STIPULATED that the period of time from the signing of this Order up to and
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     including the new court date of October 3, 2013, be excluded in computing the time within which
28




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 1   trial must commence under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7) and Local
 2
     Code T4, for ongoing preparation of counsel.
 3

 4
     Dated: September 26, 2013                            Respectfully submitted,
 5


                                                                        Michael             D.
 6
                                                          /s/
 7

 8   Long__________
 9
                                                          MICHAEL D. LONG
10                                                        Attorney for Leona Yeargin

11   Dated: September 5, 2013                             BENJAMIN WAGNER
                                                          United States Attorney
12


                                                                                       Samuel
13
                                                          /s/
14

15   Wong________
16
                                                          TODD PICKLES
17                                                        Assistant U.S. Attorney
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               Case 2:13-cr-00103-KJM Document 95 Filed 09/27/13 Page 3 of 3


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                              IN THE UNITED STATES DISTRICT COURT
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                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 6
     THE UNITED STATES OF AMERICA,    ) No. CR-S-13-103 MCE
 7                   Plaintiff,       )
                                      ) ORDER
 8
          v.                          )
 9
                                      )
     LEONA YEARGIN,                   ) Date: 10-3-13
10                   Defendants.      ) Time: 9:00 a.m.
     ================================) Judge: Hon. Morrison C. England
11
            UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is ordered that the plea
12
     hearing presently set for September 26, 2013, at 9:15 a.m. be continued to October 3, 2013, at 9:00
13
     a.m. Based on the representations of counsel and good cause appearing therefrom, the Court hereby
14
     finds that the failure to grant a continuance in this case, based on the parties arranging to have Ms.
15
     Yeargin come to court to plead guilty pursuant to the terms of a proposed plea agreement, would
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     deny defense counsel reasonable time necessary for effective preparation, taking into account due
17
     diligence. The court finds that the reasons for granting this continuance outweigh the best interests
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     of the public and the defendants to a speedy trial. It is ordered that time from this date to October 3,
19
     2013, shall continue to be excluded from computation of the time within which the trial of this
20
     matter must be commenced under the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7) and
21
     Local Code T4, to allow counsel time to prepare and to complete negotiations.
22
            IT IS SO ORDERED.
23
     Dated: September 26, 2013
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